            Case 1:21-cv-03217-CJN Document 14 Filed 04/22/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MARK MEADOWS,

                                Plaintiff,

                v.                                                No. 1:21-cv-03217 (CJN)

 NANCY PELOSI, et al.,

                                Defendants.


 CONSENT MOTION TO FILE AN OVERSIZED MEMORANDUM IN SUPPORT OF
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Civil Rule 7(e), Defendants the Honorable Nancy Pelosi, the

Honorable Bennie G. Thompson, the Honorable Elizabeth L. Cheney, the Honorable Adam B.

Schiff, the Honorable Jamie B. Raskin, the Honorable Susan E. Lofgren, the Honorable Elaine

G. Luria, the Honorable Peter R. Aguilar, the Honorable Stephanie Murphy, the Honorable

Adam D. Kinzinger, and the United States House Select Committee to Investigate the January

6th Attack on the United States Capitol, by and through their counsel, respectfully request leave

to exceed the page limit for their Memorandum in Support of Defendants’ Motion for Summary

Judgment. Defendants request that leave be granted to file a memorandum that does not exceed

60 pages.

       Undersigned counsel has conferred with Plaintiff’s counsel with respect to the relief

requested herein. Plaintiff’s counsel has advised that Plaintiff consents to the relief sought.
          Case 1:21-cv-03217-CJN Document 14 Filed 04/22/22 Page 2 of 3




                                MEMORANDUM IN SUPPORT

       Due to the immense importance of the work of the House of Representatives Select

Committee to Investigate the January 6th Attack on the Capitol, the factual and legal complexity

of the issues raised in Plaintiff’s Complaint, and the need to ensure that the Court has all the

relevant information and arguments before it, Congressional Defendants submit that additional

pages are necessary to appropriately address all of the arguments raised by Plaintiff’s Complaint

in its Motion for Summary Judgment.

       Defendants have worked diligently to stay within the confines of this Court’s rules.

However, the circumstances of the case, the number and complexity of the legal issues involved,

and the desire to ensure the Court has full information made it impracticable to comply with

otherwise applicable Local Civil Rule 7(e).

                                              Respectfully submitted,

                                              /s/ Douglas N. Letter
                                              Douglas N. Letter
                                                General Counsel

                                              OFFICE OF GENERAL COUNSEL
                                              U.S. HOUSE OF REPRESENTATIVES
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                                              Counsel for Defendants

April 22, 2022




                                                  2
          Case 1:21-cv-03217-CJN Document 14 Filed 04/22/22 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 22, 2022, I caused the foregoing to be filed via the

CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.



                                                        /s/ Douglas N. Letter
                                                        Douglas N. Letter




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